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HLEHF?‘
IN THE UNITED STATES DISTRICT COURT if
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION

 

 

MICHAEL B. BAILEY,

 

Plaintiff,
v. No. 03»2996 Ml/An
MARK LUTTRELL, et al.,

Defendants.

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ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.l(f}, a Rule lS(b) Scheduling Order
was entered on April 15, 2005, by United States Magistrate Judge S.
Thomas Anderson. In accordance with the deadlines established in
that order, trial and pretrial dates are set as follows before the

District Court:

l. The jury trial in this matter is set to begin Mondayl
Februarv 13, 2006 at 9:30 a.m. in courtroom no. 4.

2. A pretrial conference is set for Mondav; Februarv 6, 2006
at 9:00 a.m.

3. The joint pretrial order and proposed jury instructions

and voir dire questions are due by no later than 4:30

p.m. on January 30l 2006.

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Absent good cause, the dates established by this order shall

not be extended or modified.

IT ls so oRDERED this q day cf May, 2005.

draw wi

PHIPPS MCCALLA
'I`ED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:03-CV-02996 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

ESSEE

 

Michael B. Bailey
SCJ-MEMPHIS

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Honorable J on McCalla
US DISTRICT COURT

